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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

— x Chapter 11
In re: . ciel
> Case No. 07-11047(CSS) 2 es
AMERICAN HOME MORTGAGE HOLDINGS, INC., : 2 we
a Delaware corporation, et al.,! : Jointly Administered - wa

Ref/ Docket No. 10184, 10183 & 10182
Debtors.

Claimant’s Opposition to The Plan Trustee’s Objections to
Administrative Claims Numbered 10870, 10875, and 10887

l.
Comes now Claimant, Hussain Kareem, enters his Opposition to the

Plan Trustee’s Objections to Administrative Claim and contemporaneously
files his notice of requested discovery for interrogatories and production of
documents pursuant to the Federal Rules of Evidence and under the Federal

Rules of Civil Procedures and applicable Federal Bankruptcy Rules.

2.
Counsel for the Plan Trustee, provided information which, if true,

validates the Claims brought into this proceeding for Breach of Contract,

| The Debtors in these cases, along with the last four digits 0° each Debtor’s federal tax identification

number, are: American Home Mortgage Holdings, Inc. (““AHM Holdings”), a Delaware corporation (6303);
American Home Mortgage Investment Corp. (“AHM Investment”), a Maryland corporation (3914);
American Home Mortgage Acceptance, Inc. (“AHM Acceptance”), a Maryland corporation (1979); AHM
SV, Inc. (f/k/a American Home Mortgage Servicing, Inc.) (“AHM SV”), a Maryland corporation (7267);
American Home Mortgage Corp. (*AHM Corp.”). a New York corporation (1558); American Home
Mortgage Ventures LLC (“AHM Ventures”), a Delaware limited liability company (1407); Homegate
Settlement Services, Inc. (“Homegate”), a New York corporatio 1 (7491): and Great Oak Abstract Corp.
(“Great Oak”). a New York corporation (8580). The address for all of the Debtors is 538 Broadhollow
Road, Melville, New York 11747.

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Breach of Fiduciary Duty, failure to disclose, unjust enrichment and other

unfair and deceptive business practices under applicable Georgia laws.
3.

The information was offered during the course of conversations by the
law firm of YOUNG CONAWAY STARGATT & TAYLOR, LLP,
counsel for The Plan Trustee. The information about the Trust contradicts
statements made in the Objections to Administrative Claims 10870, 10875
and 10887 paragraph 12 on page 6. Other interested parties, namely the
“New Loan Servicer” American Home Mortgage Servicing , Inc.
(‘AHMSI’), did not deny that they had identified another Mortgage Backed-
Security Trust (“MBST”) in the U.S. District for the Northern District of
Texas, Case No. 3:10-CV-00762 and during the Department of H.U.D.
Office of RESPA investigation.

Extracted statements from the documents presented to Mr. Kareem are
the key to a pattern of deception that must be determined in this contested
matter. The statements below form the basis for more discovery and the

impact of his contractual rights and damages, as follows:

4,
[Extracted from Proposed Settlement]

Relevant Background
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F. In May 2006, Mr. Kareem applied for a cash-out refinance on his

home through American Home Mortgage Corp. (d/b/a American
Brokers Conduit)’.

G. On July 7, 2006, Mr. Kareem closed on his loan (the “Kareem
Loan”) in the amount of $159,200.00. The Kareem Loan was
secured by the property located at 2197 Carlysle Creek Drive,

Lawrenceville, Georgia, 30044 (the “Kareem Property”). AHM

SV was servicer of the Kareem Loan [001350490].
H. On July 28, 2006, the Kareem Loan was sold to securitization trust
entitled AHWL06-163 (the “Trust”).°
I. On October 30, 2007, the Bankruptcy Court entered an order (the

“Servicing Sale Order”) approving the Debtors’ sale (the “Sale”’)

of the mortgage servicing business to AH Mortgage Acquisition
Co.", Inc. (now known as Americar Home Mortgage Servicing,

Inc., “AHMST!’) [D.I. 1711]. Following the final closing of the

* The loan transaction was known as a “limited cash-out” that less than $2500.00 was taken out of the
equity of his home. The primarily purpose of the transaction was for rate and terms. “American Business
Conduit” was a brand name used by American Home Mortgage Corp. to originate the loan. Later, AHMC
acted as the Sponsor of the MBST under a planned Prospectus and Pooling and Servicing Agreement (See
Exhibit 100 Securitization Chart). This trust no longer exists ancl failed to be become a statutory entity.

3 During a U.S. HUD, Department of RESPA investigation for transfer of notice violation, American Home
Mortgage Servicing’, Inc. “the New Loan Servicer” revealed that the Mortgage-Backed -Security Trust was
AHM 2006-3. This has been confirmed by a Securitization audit through Bloomberg and the Security and
Exchange Commission database. This is materially significant due to binding contract covenants under
Section 20 of the Security Deed and by Federal law which provided that it is mandatory for the Lender to
notify Mr. Kareem within 30 days. Under 12 USC §2605 (a-c) and under 24 C.F.R. 3500.2 1(d) the
transfer of Master Servicer should have been made. Tne underlying Note has an electronic CUSIP No.
0660265UAA8. Therefore the instrument was changed into a shareable stock certificate undisclosed to the
Mortgagor.

AH Mortgage Acquisition Co., the purchaser of asset from the Bankruptcy Court, conveniently changed
or adopted the “New” name of AHMSI, but its registration is in California. This helped formulate a
deceptive plan to service loans under the pretext and confusion that AHMH and its subsidiaries were still in
the business of servicing loans. No notice of judicial ongoing dissolution proceedings was given to Mr.
Kareem.
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Sale on April 11, 2008, the Kareem Loan has been serviced by

AHMSI.

J. In January 2011, Mr. Kareem filed two (2) separate proofs of
claim in these chapter 11 cases, which are identified by the claims
agent as claims 10870 and 10875. Subsequently, Kurtzman
Carson Consultants (“KCC”) (not t1e claims agent retained in
these cases) forwarded a proof of claim it received from Mr.
Kareem to Epiq Solutions, which was provided a claims number
of 10887 (together with claims numbered 10870 and 10875, the

“Kareem Claims”). Each of the Kareem Claims asserts a secured

claim in the amount of $200,000 and an unsecured claim in the
amount of $50,000 against AHM Holdings.

K. On January 20, 2011, Mr. Kareem filed his Motion for Entry of
Administrative Claim with Brief in Support [D.1. 9692] (the “First

Administrative Claim Motion”) requesting allowance of an

administrative claim. In the Kareern Motion, Mr. Kareem
requests allowance of an administrative claim in the amount of

$19,175.71, exclusive of interest.

> Mr. Kareem duly filed a notice into the court with an Exhibit showing U.S. Postal Service
Delivering delays. That the winter storm in Delaware crea‘ed delays in delivering the first notice.
How documents were forwarded to Kurtzman Carson Consultants (“KCC”) is unknown. The
Certificate of Service on the Documents do not support that Mr. Kareem sent anything to KCC.
Exhibits show that both claims were the post marked dates. prior to January 11", 2011. The
second Claims was sent as an attempt to confirm that the claim had been received and to get an
acknowledgement that the documents were not mishandled due to the bar date of January 2, 2011.
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L. On or about August 12, 2011, Mr. Kareem filed his Motion for

Judgment as a Matter of Law of Administrative Claim Entered

[D.I. 10148] (the “Second Administrative Claim Motion, and

together with the First Administrative Claim Motion, the “Kareem
Motions’).

5.
Court Action Did Not Include AHMH or its Subsidiaries

Notwithstanding that Mr. Kareem entered into this case to meet the
final bar date, Claimant has been asserting his rights against known
misconduct of alleged successors-in-interests. They are not successors-in-
interests to AHMH. These other entities were made business affiliates and
agents after the loan closing. AHMH had knowledge of this and allowed the
third parties to continue to pursue payments ad his property without any
legal rights.

Across the country, court records are flooded by the painful national
disaster that deceptive lending practices, coupled with deceptive loan
servicing practices and fraud are rampant. These material facts are common
knowledge and has been supported by Congressional Hearings through the
Interagency Foreclosure Review Reports and Federal Consent Orders
published on April 13, 2011 (See OCC website Exhibit 200 New

Foreclosure Appeals Announced by Feds).

6.
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Mr. Kareem’s claims are about Defaults and Contract Breaches made

by AHMH in which many occurred prior to the HUD Investigation or any
court action. In good faith he has been trying to get to the bottom of the

unfair- predatory lending and deceptive business practices made by AHMH.

7.
AHMIH failed to adhere to binding performances in the contracts.

Insolvency proceedings does not shield the fa lures. Insolvency proceedings
settles the issue that AHMH stopped performing under the contract. What is
left after the commencement of dissolution is to determine who has been

harmed and by what extent of the damaged?

Claimant enumerates failures by AHMH includes, but are not limited

to the following:

1. Contractual Performance Covenants by AHMH to
the Note or Security Instrument were suspended.
Examples: giving of Notice to Borrower under
Section 8 of the Note and Section 15 of the Security
Instrument.

2. Under Seciion 22 of the Security Instrument, when
AHMH commenced in a judicial proceeding ,
without notifying the Borrower was a violation of
requirements under section 15 of the same
instrument and under Section 8 of the Promissory
Note.

3. AHMH failed to communicate , evidence shows that
they received the TILA rescission demand), but
elected not to respond in the 20 days required under
Federal Law. AHMH made no attempt to unwind
the transaction and return the borrower to his status
quo ante. This unwinding procedure is settled under
TILA 15 U.S.C. §§1635 through 1640, so that, the
borrower can tender the payoff.
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4. AHMH’s employee, LISA FURCO endorsed the
note on the face of the instrument, constituting an
accommodation endorsement and cause for
discharge of the maker’s debt obligation’.

5. AHMH never disclosed that securitization would
bind the property over to another Note Holder, a
Custodian of the Mortgage-Backed-Security Trust
(MBST) or that the instrument would be used in an
unauthorized manner.

6. AHMH never disclosed or noticed that the Master
Servicer of the MBST was not a subsidiary of itself.
The deceit occurred upon entry of the loan into the
Pooling and Servicing, Agreement as noted by
counsel on or about July 28, 2006. This was within
21 days of closing. This was apparently an
anticipated undertaking and may be determined as a
RESPA transfer notice violation’. As of July 28,

© See Bank of the University v. Tuck, 101 Ga. 104, 111 (28 SE 168), where the action was
between a bank, as pledgee of a note which had been indorsed to it by the payee, and the
maker, the court reiterated: "Jt [the bank] being a pledgee for value of the note, and the
money having confessedly not been paid to it, but to the original payee, it follows that to
excuse the maker from liability to the pledgee, he is bound to prove the agency of the
person to whom he paid the money, and the competency of that person for and on behalf
of the bank to receive it."[emphasis applied]

7 Under 24 C.F.R. § 3500.21. Mortgage servicing transfers;

(a) Definitions. As used in this section: Master servicer means the owner of the right to

perform servicing, which may actually perform the servicing itself or may do so through
a subservicer.

Subservicer means a servicer who does not own the right to perform servicing, but who
does so on behalf of the master servicer.

Mortgage servicing loan means a federally related mortgage loan, as that term is defined

in § 3500.2, subject to the exemptions in § 3500.5, when the mortgage loan is secured by
a first lien.

Debtors are not exempted under 24 C.F.R. § 3500.21 (d) [which provides in relevant
part] Notices of Transfer; loan servicing The followirg transfers are not considered an
assignment, sale, or transfer of mortgage loan servicing for purposes of this requirement
if there is no change in the payee, address to which payment must be delivered,
account number, or amount of payment due: and under subsection,

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2006, The Master servicing function was not held
by AHMH or its entities.

7. AHMH sold or deposited Claimants Promissory
Note into a bank or investment facilities. This has
two legal ramifications. (A) Under Georgia’s
Banking laws OCGA 7-6A-2(6) provides that a
purchaser, assignee or transferee is not the Creditor
over Mr. Kareem’s lcan. The MBST nor any of its
affiliates or agents can thereafter act like Creditors
for enforcement purposes. (B) The legal definition
under Georgia Law forbades using the Promissory
note as a depositable instrument under OCGA 11-9-
102(64). (C) The note is altered and forever more
has the electronic ma:kings of the CUSIP
identifying the original loan number. It is to be
determined if this addition of letters or numbers
alters the instrument and is eligible for discharge
under the Georgia’s Commercial Code OCGA 11-3-
407.

8. All of the above AHMH Breaches occurred before
any payment concerns were raised by the “New”
Loan Servicer, who came into the picture on or
about April 7, 2008.

9. These are not preclusionary issues with respect to
AHMH, because the U.S. District Judge did not
allow AHMH to be brought in as a party of interest
(See Exhibit Order 13)and the Plaintiff amended

(C) Transfers between master servicers, where the subservicer remains the same.. In the

instant action, Claimants espouses that the above exemptions do not apply for reasons
opined:

1. The subservicer, the “New” AHMSI owned by AH Mortgage Acquisition Co.,
is not the same legal entity as AHM SV, the original subservicer under the
Prospectus and PSA. There is no evidence that the MBST filed a change with the
SEC to this effect. In fact, the MBST filed a Form 15 to the SEC showing that the
MBST ceased to exist (See Exhibit 300).

2. The Loan number and addressed of location did changed as mentioned above.
The original loan number remains not referenced by the “New Loan Servicer
(See Exhibit D2).Notwithstanding, HUD investigation issued a right to sue on this
violation. AHMSI never sought to oppose, vacate or amend the RESPA findings
issued by Ivy Jackson ( See Exhibit D Letter RESPA Case No. 09-1699).
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his petition not to prosecute AHMH. The District
case for all practical purposes is moot on the issue
of AHMH.

10. Predatory lending claims exist under the negative
amortization product, failure on Annual Percentage
Rate calculation and questionable alteration of
documents . The Disclosure and Loan performance
were not accurately described by AHMH as
required under applicable laws (See APR WIN 6.
2.0 APR Calculation done through the Office of
Comptroller cf Currency).*

8.
AHMH insolvency status was made known to the Borrower after

AHMH had been summoned and served. On or before, January 2010
Counsel representing the Debtors filed a Suggestion of Bankruptcy on
Behalf of AHMH (See Doc No. 13) Federal Stay for Bankruptcy proceeding
was granted and the case was transferred and proceeded in the U.S. District
Court in the Northern District Of Texas Case No. 3:10-CV 00762. There
was no attempt to bring AHMH into the District Court action after this fact

was made known. The case proceeded with the remaining Defendants.
9.

There remained plenty of deceptions and torts by the hands of “the
New” AHMSI and MERS by falsely purporting that they were successors-
in-interests to AHMH while AHMH was insolvency proceedings. The third--

parties hid and concealed the affect of the securitization had on Mr.

® Claimant has ordered a more in-depth forensic audit by 11dependent auditors to show the extent
of harm. The findings would be applicable under TILA and RESPA violations. Any statements or
findings by counsel for the Debtors is unverified. They have no personal knowledge or
professional knowledge to testify about the transaction with certainty. If there is a claim that they
are expert witnesses, then they shall have to commit themselves to cross-examination.

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Kareem’s contract rights. The fundamental question and his right to know

who is benefitting from his mortgage payments” were unanswered. Mr.
Kareem is not purporting that securitization is illegal, but concealing the
material facts with respect to the Note Holder Status and the knowledge of
who the Master Servicer is created confusion and deceptive business

practices.

10.

Failing to pass on who the Note Holder is a violation under the
Shelby-Boxer Amendment of the Truth-in-Lending Disclosure Section 1035

made effective since January, 2010.

It is not conjecture that if the Holder of the Note was the Custodian of
the MBST (See Exhibit 200 Securitization Chart). AHMH had responsibility
and first-hand knowledge to convey this to the Mortgagor upon receiving a
claim for rescission under the contract terms. To go silent is illegal and
breaks the contract terms. The failure to give notice is a determinable issue
of fact.

11.
Counsel stated with respect to the rescission demand that AHMSI

contacted Mortgagor and provided their opinion about the right to rescind

° Under Georgia’s Trade Practices O.C.G.A. §10-1-372 (2010) provides:
(a) A person engages in a deceptive trade practice when, in the course of his business,
vocation, or occupation, he:
(12) Engages in any other conduct which similarly creates a likelihood of confusion or of
misunderstanding.
(b) In order to prevail in an action under this part, a complainant need not prove
competition between the parties or actual confusion or misunderstanding.

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the loan. AHMSI is not t the Assignee under 15 U.S.C .§1641 (c ) with all

the liabilities as the original lender. Nor has the “New AHMSI” claimed to
be the Assignee, nor have they produced agreements from the MBST that
they were agents to the Master Servicer. Thes2 are issues of fact yet to be

determined in greater details.

12.

Loan Servicing Rights: Duty of Payor/Maker to Know who is the
Lawful Payee

The Lender’s action to not disclose their back door dealings is at their
discretion until it creates conflict of interests or violations under applicable
laws. Inarelevant case law, C. W. GROOVER v. Erick PETERS 231 Ga.

531 (1973), 202 S.E.2d 413, the Georgia Supreme Court opined :

“that the borrower must be as careful in repaying the debt as the lender
presumptively was in making the loan.”

The relatively simple decision follows:

“The maker of a negotiable note and security deed must determine at
the time of payment whether the payee is the holder of the instrument
or the authorized agent of the holder in order to protect himself
against liability for double payment. If the original grantee has
assigned the instrument to another, who is a holder in due course, the
burden rests with the maker to determine same and pay only the
holder or his authorized agent... The long and short of the matter is
that the borrower must be as careful in repaying the debt as the
lender presumptively was in making the loan.” [emphasis added].

Thus, by the precedent ruling, it is inferred that every borrower in the
state of Georgia should be entitled to question and demand from the

transferee, assignee and servicers, the necessary documents, data, and
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evidence of their affiliations and relationships. Prudence requires the

payor/maker to meet the requirements for “the borrower must be as careful

in repaying the debt as the lender presumptively was in making the loan!” '0

13.
Misdirecting Default Toward Claimant

Claimant fully incorporated in paragraphs | through 12, supra.
Counsel has made statements that alleges that the Mortgagor missed or
delinquent payments are the source of his own complaint. Counsel opined
from excerpted statement to this court, with the obvious intent to divert
blame of the breaches. The relevant excerpted statement is as follows:

“In or about July 2008, Mr. Kareem ceased making timely payments on the
Kareem Loan. Upon information and belief, no payments have been made on
the Kareem loan for months commencing July 1, 2009 to present.”

Claimant feels that the above statement is inaccurate and counsel has
not presented a preponderance of evidence to come to a legal conclusion on
this issue. This statement should be stricken from the record for several

reasons:

It is well settled that payment of a promissory note to a person not in possession of it is
at the peril of the payer. Eastern Acceptance Corporation v. Henry, D.C. Mun.App.. 62
A.2d 309, citing Davis v. Casey, 70 App.D.C. 27, 10°; F.2d 529. To this rule there is an
exception when "the conduct and course of dealings of the holder are such as to engender
in the mind of the payer a justifiable belief that the payee or the party receiving the
money is the agent of the holder for that purpose.” Sherrill v. Cole, 144 Okl 301, 291 P.
54, 55.2! This exception was recognized in Davis y. Casey, supra, but there it was held
that there was no “holding out of agency which might have misled the defendants." [70
App.D.C. 27, 103 F.2d 534.] [emphasis added].

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A. The statement is not accompanied by a verification or affidavit.

B. Information and belief is hearsay and without personal knowledge.
What authenticated information would warrant for Counsel to
make this “wild” allegation? Is counsel referring to a partial Bank
Statement Report issued by Bank America that shows some of my
payments?

C. Has Counsel failed to consider that payments were possibly made
on behalf of the Mr. Kareem or that other payments have come by
wire transfer or by other means?

D. Counsel is completely ignoring AHMH’s duty and responsibilities
and abandonment of the note. AHMH has not sought to accelerate
an indebtedness as required under Security Instrument covenants
Section 22 Acceleration Remedies. So, who is benefitting or have
been harmed from any payments, late or otherwise not made by
Mr. Kareem?

E. Was the MBST assets to be made a vart of the ongoing insolvency
case of AHMH? If yes, then how ca‘ third parties continue their
billing and servicing practices affecting the legitimate rights of the
mortgagor without full disclosure of their legal standing?

F. If the MBST is dissolved, then who has legal standing against the
promissory notes? Which the Stock Certificates is tied to Mr.
Kareem’s Note?

G. Has Standard & Poors downgraded the MBST due to Mr.
Kareem’s asset performance?

H. If Mr.Kareem elects not pay mortgaze payments to agents of the
MBST, what law or contract has he broken?

I. Mr. Kareem is following the law and legal advice as espoused by
the Supreme Court of Georgia as stated in section 12, supra. He
has already documented some overpayments given to third parties,
who have not properly identifying themselves or their contractual
rights to bill him.

Claimant objects to and opposes all inferences to the above statements

made by the Counsel for the Debtors and the Plan Trustee.

Counsel for the Plan Trustee have failed to find Facts Consistent with
Deceptive and Predatory Lending Practices:

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Claimant brought action by notice pleading into this Court . Now,

enumerates other discoverable defaults and violations made by AHMH as,
follows:

1. The Office of the Comptroller of Curreacy APR calculator Apr WIN
— Version 6.2.0 finds that the APR was overstated. A more extensive
independent audit is forthcoming. The findings points to the fact that
federally required disclosures given to Mr. Kareem were inaccurate
(See Exhibit 400 APR Disclosure Documentation).

2. Because the Product offered was a Negative Amortization with an
Interest only option payment plan. The Truth-in Lending Disclosure
supplied at closing did not properly account for the pay-option
scenarios given to Mr. Kareem. Another audit assessment will |
demonstrate and factor the worst case scenario of the loan
performance. AHMH did not project to Mr. Kareem any worst case
scenario with the Pay Option Loan Product. Disclosed were only
examples and samples ( See Exhibits G-G4 Final Truth-In-Lending
Statement, illustration 1 & 2 purportedly included and signed by him
on 07/07/06). Borrower specifically notices that the Arabic numerals
by his signature are not of his hand writing).

3. The “new” Loan Servicer AHMSI, gave the Borrower a Copy of the
Note whereas the on page 6 of 6, Lisa Furco of American Business
Conduit endorsed the note''. Noticeablv, the same version of page 6
of 6 to the Promissory Note was not supplied by Debtors’ Counsel.

4. The loan application, disclosures and the closing were apparently
conducted on the same day. Noticeably, the interest rate of 1.9% was
promised on the face of the loan application and Lindel Strong of
Global Mortgage never signed to witness the loan application (See
Exhibit J pages 1 and 3). The Right to Cancel (See Exhibit H) is a
typed-in and not hand written [inconsistent] with other documents
noticeably hand dated. Claimant has an his issue of authentication of
these documents for reasons asserted. These are questions of RESPA
settlement breaches. .

5. Presenting documents and signing thera on the same day may be
considered a predatory lending practice. There must be an excusable
reason that these documents were not advanced at least 72 hours prior
to closing.

14.

Relief Sought

i See footnote 10 Id.
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For reasons fully incorporated above including citation of authorities
contain herein, Claimant has a legal basis to support that his loan was
discharged and that AHMH has created a “cloud” to harm him by their
dilatory and deceptive business practices’.
Claimant believes at trial damages may be assessed more than the
amount that claimant has sought and possibly extended upon individuals.
Claimant seeks to move these proceedings by adversarial complaint
by leave of the Court with appropriate filing into the U.S. Bankruptcy Court.
This request was made conditional in Section of his Motion for Judgment As
a Matter of Law, if the Debtors attempted to deny or object the motion.
Claimant opposes any dismissal of claims, as there are genuine issues
of fact that must go before the trier of fact by jury demand.
Claimant seeks to mitigate AHMH damages toward me by issuing to
me a “Satisfaction and Release of Lien Obligation”, as fully described in the

attached verification contained on pages 16 and 17 ante.

EXECUTED THIS DAY ON NOVEMBER 10, 2011 / / /
(si yf

Hussain Kareem, Pro Se

"2 O.C.G.A. §10-1-372 (2010) When trade practices are deceptive; common-law and
other remedies unaffected
(a) A person engages in a deceptive trade practice when, in the course of his business,
vocation, or occupation, he:
(12) Engages in any other conduct which similarly creates a likelihood of confusion or of
misunderstanding.
(b) In order to prevail in an action under this part, a complainant need not prove
competition between the parties or actual confusion or misunderstanding.

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CERTIFICATE OF SERVICE

I certify that on November 10, 2011 I filed the foregoing document with the
opposing counsel filed electronically with electronic signature and by certified mail,
prepaid first class mail without using the electronic email of the counsel fo the
following:

Counsel for Debtors:

YOUNG CONAWAY STARGATT & TAYLOR, LLP

Sean M. BEACH

Patrick A. Jackson

1000 West St., 17" Floor

P.O. Box 391

Wilmington, DE 19801

Tel: (302) 571-6600

Counsel for the Plan Trustee:

HAHN & HAESSEN LLP

Mark S. Indelicato

Edward L. Schnitzer

488 Madison Avenue

New York, N.Y. 10022

Tel: (212) 478-7200

The Plan Trustee:

Steven D. Stass

AHM Liquidating Trust

P.O. Box 10550

Melville, NY 11747
Mathis K. Wright, President
NAACP CHAPTER #5160
P.O. BOX 1296
AMERICUS, GA 31709

EXECUTED THIS DAY ON
@ Ale » 2031
/
IS! [Je
Hussain Kareem, Pro Se
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